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                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

                                   8
                                           MOSED SHAYE OMAR,
                                   9                                                       Case No. 15-cv-01760-JSC
                                                        Plaintiff,
                                  10
                                                  v.                                       ORDER RE: MOTION FOR
                                  11                                                       PRELIMINARY INJUNCTION
                                           JOHN KERRY, et al.,
                                  12                                                       Re: Dkt. No. 14
Northern District of California




                                                        Defendants.
 United States District Court




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                                  15            Plaintiff Mosed Shaye Omar contends that Defendants the United States Department of

                                  16   State, John Kerry as the Secretary of State, Brenda Sprague as the Deputy Assistant Secretary of

                                  17   Passport Services, and Michele Bond as the Acting Assistant Secretary for Consular Affairs,

                                  18   (collectively “Defendants” or “the government”), illegally revoked his passport following his

                                  19   interrogation and detention at the U.S. Embassy in Sana’a, Yemen. Although Plaintiff was

                                  20   subsequently provided a temporary passport which allowed him to return to the United States 13

                                  21   months later, that temporary passport was confiscated by U.S. Customs and Border Protection

                                  22   when he landed in the United States. Plaintiff now moves for a preliminary injunction for return

                                  23   of his passport so that he can travel to Yemen to visit his minor daughter and to help her obtain a

                                  24   U.S. passport. (Dkt. No. 14.) Having considered the parties’ submissions and having had the

                                  25   benefit of oral argument on September 8, 2015, as well as supplemental submissions regarding

                                  26   irreparable harm, the Court GRANTS Plaintiff’s motion for a preliminary injunction.1 Plaintiff

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                                  28    Both parties have consented to the jurisdiction of a magistrate judge pursuant to 28 U.S.C. §
                                       636(c). (Dkt. Nos. 12 & 13.)
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                                   1   has shown a likelihood of success and serious legal issues regarding his challenge to Defendants’

                                   2   revocation of his passport and the balance of hardships weighs strongly in his favor. Given his

                                   3   precarious health and the volatile situation in Yemen, he will likely be irreparably harmed if the

                                   4   United States government continues to refuse to allow him to visit his daughter.

                                   5                                             BACKGROUND

                                   6          Plaintiff was born in Yemen in 1951, but immigrated to the United States in 1972 through

                                   7   his uncle who adopted him following the death of Plaintiff’s parents. (Dkt. No. 14-7 at ¶¶ 1-2

                                   8   (Declaration of Mosed Shaye Omar).) Plaintiff became a United States naturalized citizen on

                                   9   April 10, 1978. (Id. at ¶ 3; Dkt. No. 14-8 (Certificate of Naturalization).)

                                  10          In July 2012, Plaintiff traveled to Yemen to assist his youngest daughter K.O. in obtaining

                                  11   a U.S. Passport. (Dkt. No. 14-7 at ¶ 4.) He attended an interview at the U.S. Embassy in Sana’a

                                  12   in August 2012, but did not hear anything regarding the status of the application for several
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                                  13   months during which time he remained in Yemen. (Id. at ¶¶ 4-5.) Plaintiff is a diabetic and has

                                  14   high blood pressure, and he takes several medications for these conditions, medications which he

                                  15   could not obtain in Yemen. (Id. at ¶ 1.) By December 2012, Plaintiff had run out of medication

                                  16   and his health had deteriorated. (Id. at ¶ 5.) He therefore contacted the U.S. Embassy to follow up

                                  17   on the status of the application and advised officials that he intended to return to the United States

                                  18   for health reasons. (Id. at ¶ 6.) He purchased a return flight for late January 2013. (Id.)

                                  19          A few days before he was due to depart, Plaintiff received a call from the U.S. Embassy

                                  20   regarding his daughter’s passport and requesting that he come to the Embassy. (Id. at ¶ 7.) Upon

                                  21   arriving at the Embassy early the next morning, Plaintiff was asked by a consular officer to

                                  22   provide his passport, which he did. (Id. at ¶ 8.) Shortly thereafter, he was taken from the waiting

                                  23   room to another “more secure area” and another building with armed and uniformed U.S. military

                                  24   personnel. (Id. at ¶ 9.) To enter the second building, he was escorted through two locked doors

                                  25   which required a special code to open. (Id.) Plaintiff was then escorted into an interrogation room

                                  26   with two Americans and an interpreter. (Id. at ¶ 11.) Plaintiff had difficulty understanding the

                                  27   interpreter given his dialect, and at times, he could not tell if the interpreter was one of the

                                  28   interrogators. (Id. at ¶ 12.) He was not advised of his right to remain silent or his right to consult
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                                   1   an attorney, nor did he know he had the right to remain silent or to leave and consult with an

                                   2   attorney. (Id. at ¶¶ 13-14.) Plaintiff believed he had to participate in the interview to obtain his

                                   3   daughter’s passport and his own. (Id. at ¶ 15.) He was questioned for an hour regarding his

                                   4   parents and other family members and then he was returned to the general waiting room and told

                                   5   to wait. (Id. at ¶ 18.) He did not feel he could leave without permission and the Embassy officials

                                   6   had his passport which he needed for his flight home in a few days. (Id.)

                                   7          After about an hour and half of waiting, he was returned to the interrogation room where

                                   8   he was questioned for another hour. (Id. at ¶¶ 19, 21.) During this time, he began to feel sick and

                                   9   weak as he had not had any food or water, and he did not have his medication with him. (Id. at ¶

                                  10   20.) His vision also started to blur which is a symptom of his diabetes. (Id. at ¶ 21.) After an hour

                                  11   of questioning, Plaintiff was again escorted back to the waiting room and told to wait. (Id. at ¶

                                  12   21.) He was unable to contact his family or friends because his cell phone had been taken and
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                                  13   there were no phones for public use. (Id. at ¶ 22.) After several hours of waiting, everyone started

                                  14   leaving the Embassy and at 4:00 p.m. he was “feel[ing] desperate and very afraid” so he told the

                                  15   guard he would do anything to get his passport back and be allowed to leave. (Id. at ¶ 24.)

                                  16          Plaintiff was then escorted back to the interrogation room by two individuals, because his

                                  17   vision had become so blurry he could not tell if it was the same two individuals as before or

                                  18   different individuals. (Id. at ¶¶ 24-25.) He was handed a piece of paper and told to sign it to get

                                  19   his passport returned. (Id. at ¶ 26.) Plaintiff could not read the paper because his vision was so

                                  20   blurry and the interpreter did not read the document to him or tell him what the document was.

                                  21   (Id. at ¶ 27.) After he signed it, he was returned to the waiting room and after half an hour he was

                                  22   told that he could not get his passport back because he had another name. (Id. at ¶ 28.) Plaintiff

                                  23   was not told that the document he signed was a statement admitting that he had used a false name

                                  24   and committed various other acts, nor was he advised as to why his passport had been confiscated

                                  25   or how he could get it back. (Id. at ¶¶ 29-30.) Plaintiff was thereafter escorted out of the waiting

                                  26   room and as a result of the stress and lack of food, water, or medication, he had to be taken to see

                                  27   a doctor that night. (Id. at ¶¶ 31, 33; Dkt. No. 14-31 at 4.)

                                  28          Plaintiff missed his flight home because he did not have a passport. (Dkt. No. 14-7 at ¶
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                                   1   35.) Although he repeatedly contacted the Embassy, he was unable to discover anything about

                                   2   his passport until 11 months later, in December 2013, when he received a call from the Embassy

                                   3   advising him to come in. (Id. at ¶¶ 38-39.) When he visited the Embassy on December 15, 2013,

                                   4   he was given a letter which stated that his passport had been revoked pursuant to 22 C.F.R. §

                                   5   51.62(a)(2) based on his “sworn statement admitting that [his] true identity is Yasin Mohamed Ali

                                   6   Alghazali” which meant that he made a “false statement of material fact” in his passport

                                   7   application under the name Mosed Shaye Omar. (Id. at ¶ 39; Dkt. No. 14-4 at 22 (Dec. 15, 2013

                                   8   letter).) The letter also advised Plaintiff of his right to a hearing upon written request. (Id. at 3.)

                                   9           In January 2014, Plaintiff contacted the Embassy to advise that his health condition had

                                  10   become dire and he needed to return to the United States for treatment. (Dkt. No. 14-7 at ¶ 40.) In

                                  11   February, he was granted a temporary passport and he returned home on February 21, 2014. (Id.

                                  12   at ¶¶ 41-42.) His temporary passport was confiscated by U.S. Customs and Border Protection
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                                  13   when he landed at San Francisco International Airport. (Id. at ¶ 41.) About two weeks after he

                                  14   returned home, he had a heart attack and had a stent placed in his heart. (Id. at ¶ 42; Dkt. No. 14-

                                  15   38 at ¶ 2.)

                                  16           Plaintiff sought administrative review of his passport revocation pursuant to the provisions

                                  17   set forth in the December 15, 2013 letter. On August 6, 2014, he was notified that his passport

                                  18   revocation hearing was set for September 22, 2014. (Dkt. No. 14-21 at 2 (Aug. 6, 2014 letter).)

                                  19   The letter advised that the “only issue for consideration and decision will be whether or not the

                                  20   Department satisfied the requirements or conditions of the applicable passport regulations cited as

                                  21   the basis for its adverse action, not your citizenship status.” (Id.) Plaintiff subsequently obtained

                                  22   counsel who attempted to postpone the hearing to allow additional time to prepare, but counsel

                                  23   was unable to obtain such a postponement, although the government granted a seven-day

                                  24   extension of the briefing schedule. (Dkt. Nos. 14-16; 14-17.)

                                  25           On September 22, 2014, Plaintiff and his counsel appeared for the hearing via video link

                                  26   with Bennett S. Fellows, Division Chief of the Office of Adjudication, serving as the hearing

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                                  28    Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1   officer. (Dkt. Nos. 14-1 at ¶ 31 (Declaration of Counsel Yaman Salahi); 14-36 (Transcript of

                                   2   Sept. 22, 2014 hearing).) A month later, Plaintiff was advised that Deputy Assistant Secretary

                                   3   Brenda Sprague had approved Hearing Officer Fellows’ October 17, 2014 recommendation

                                   4   affirming the revocation of Plaintiff’s passport because his use of the name “Mosed Shaye Omar”

                                   5   to obtain a passport constituted a fraud in violation of 22 C.F.R. § 51.62 (a)(2). (Dkt. No. 14-35

                                   6   (Oct. 17, 2014 letter).)

                                   7            Plaintiff filed this civil action on April 20, 2015 seeking return of his passport and a

                                   8   declaration that Defendants violated his right under the Constitution, the Administrative

                                   9   Procedures Act, and 8 U.S.C. § 1504. (Dkt. No. 1.) Plaintiff alleges six causes of action under the

                                  10   APA: (1) Defendants interpretation and application of 8 U.S.C. § 1504 is unconstitutional and

                                  11   exceeds their statutory authority; (2) Defendants failed to apply the proper “clear and convincing

                                  12   evidence” standard of proof at his passport revocation hearing; (3) Defendants improperly relied
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                                  13   on an involuntary statement obtained in violation of Plaintiff’s Fifth Amendment rights to revoke

                                  14   his passport; (4) Defendants failed to timely provide Plaintiff with written notice or a prompt

                                  15   hearing following revocation of his passport in violation of his Fifth Amendment rights; (5)

                                  16   Defendants’ actions were arbitrary and capricious; and (6) Defendants failed to comply with APA

                                  17   rules of adjudication with respect to Plaintiff’s passport revocation hearing. (Complaint ¶¶ 120-

                                  18   155.)

                                  19            On June 24, 2015, Plaintiff filed the now pending motion for preliminary injunction

                                  20   seeking the return of his passport. (Dkt. No. 14.) Defendants opposed the motion and at the

                                  21   request of the parties the hearing was rescheduled twice to September 8, 2015. (Dkt. Nos. 21, 23

                                  22   & 25.)

                                  23                                           LEGAL STANDARD

                                  24            A preliminary injunction is an “extraordinary remedy.” Winter v. Nat. Res. Defense

                                  25   Council, 555 U.S. 7, 24 (2008). “A plaintiff seeking a preliminary injunction must establish that

                                  26   he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of

                                  27   preliminary relief, that the balance of equities tips in his favor, and that an injunction is in the

                                  28   public interest.” Id. at 20. Alternatively, “if a plaintiff can only show that there are serious
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                                   1   questions going to the merits—a lesser showing than likelihood of success on the merits—then a

                                   2   preliminary injunction may still issue if the balance of hardships tips sharply in the plaintiff’s

                                   3   favor, and the other two Winter factors are satisfied.” Shell Offshore, Inc. v. Greenpeace, Inc., 709

                                   4   F.3d 1281, 1291 (9th Cir. 2013) (internal citation and quotation marks omitted). In this respect,

                                   5   the Ninth Circuit employs a sliding scale approach to these factors, wherein “the elements of the

                                   6   preliminary injunction test are balanced so that a stronger showing of one element may offset a

                                   7   weaker showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th

                                   8   Cir. 2011). A “serious question” is one on which the movant “has a fair chance of success on the

                                   9   merits.” Sierra On–Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984)

                                  10   (internal citation omitted).

                                  11                                              DISCUSSION

                                  12          A.      Likelihood Success on the Merits/Serious Legal Questions
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                                  13          Plaintiff contends that he is entitled to a preliminary injunction because he can demonstrate

                                  14   a likelihood of success on the following issues: (1) Defendants acted arbitrarily and capriciously

                                  15   and in violation of the law by relying on Plaintiff’s involuntary statement to revoke his passport;

                                  16   (2) Defendants violated Plaintiff’s due process rights when they revoked his passport without

                                  17   applying the correct standard of proof, and (3) because the revocation amounts to a collateral

                                  18   attack on Plaintiff’s citizenship, it exceeded Defendants’ authority.

                                  19          1)      Use of the Allegedly Involuntary Statement

                                  20          Plaintiff contends that his due process rights were violated when the State Department

                                  21   revoked his passport based on the involuntary statement he provided at the U.S. Embassy in

                                  22   Sana’a on January 23, 2013. In Bong Youn Choy v. Barber, 279 F.2d 642 (9th Cir. 1960), the

                                  23   Ninth Circuit concluded that the petitioner’s statement was involuntary based on his unchallenged

                                  24   testimony that the statement was made after authorities made threats of criminal prosecution and

                                  25   deportation over a period of seven hours, which stretched into the early morning. 279 F.2d at

                                  26   644–47. The court concluded that “[a] statement obtained by the government by inducing fear

                                  27   through official threats of prosecution is not voluntarily given.” Id. at 647. As a result, the

                                  28   statement could “no more be used as a basis for deportation than for conviction of a crime,” and it
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                                   1   therefore violated due process to admit the statement into the petitioner’s administrative

                                   2   deportation proceeding. Id. Likewise, in Navia-Duran v. Immigration & Naturalization Serv.,

                                   3   568 F.2d 803 (1st Cir. 1977), the petitioner’s statement was found involuntary where she was

                                   4   “[i]solated from her friends, inexperienced in American justice, taken from her home to a strange

                                   5   office late at night” and told by the immigration agent that she had “no choice.” 568 F.2d at 810.

                                   6          The undisputed record here compels a finding that Plaintiff is at least likely to succeed on

                                   7   his claim that his statement too was involuntary. The statement was made after he had been

                                   8   detained at the Embassy for more than nine hours without food, water, or medication that he needs

                                   9   for his serious medical conditions; no one advised him of his right to leave, to be silent, or his

                                  10   right to consult an attorney; he did not read the statement and no one read the statement to him,

                                  11   and, to the contrary, it was affirmatively misrepresented to him that by signing the document his

                                  12   passport would be returned—the passport he required to return to the United States to obtain his
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                                  13   needed medical care. Even if he had been given the opportunity to read the document, he would

                                  14   not have understood it as his English is not very good and his eyes were blurry and he was not

                                  15   feeling well due the deprivation of food, water, and medicine. He signed the statement without

                                  16   knowing its contents because he believed that was the only way to get his passport back. (Dkt. No.

                                  17   14-7 at ¶¶ 8, 12, 15, 18, 20, 21, 23, 24, 26-27.)

                                  18          Based on these uncontested allegations, Plaintiff has demonstrated a likelihood of success

                                  19   as to his contention that the statement was involuntary. Indeed, the finding of involuntariness is in

                                  20   certain respects stronger here than in Choy. In Choy, there was no dispute that the petitioner knew

                                  21   what he was admitting, only whether he was coerced into making the confession. 279 F.2d at 647

                                  22   (concluding that petitioner’s statement was involuntary where it was the result of a “heavy-handed

                                  23   threat [that] was followed by sleepless hours for [petitioner], and finally, weary and distressed, he

                                  24   sought to appease his official accusers by making the statement containing the admissions.”).

                                  25   Here, in contrast, the record is undisputed that Plaintiff was not even aware of the contents of the

                                  26   statement at the time he signed it and he did not become aware of its contents until the government

                                  27   belatedly disclosed the statement to him months later at his administrative hearing.

                                  28          Defendants counter with a perfunctory declaration that the involuntariness of the
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                                   1   statement: “is not supported by the evidence; and in fact, all evidence suggests that his statement

                                   2   was voluntary, knowing, and accurate. See generally Attachment 5 to Plaintiff’s motion for a

                                   3   preliminary injunction.” (Dkt. No. 23 at 16:7-9.) Attachment 5, however, is merely the statement

                                   4   itself—hardly evidence that the statement was voluntary and knowing. (Dkt. No. 14-5.)

                                   5   Moreover, Plaintiff signed the statement as “Mosed Shaye Omar.” It is puzzling, to say the least,

                                   6   why someone who understood that he was signing a confession that his true name is something

                                   7   other than Omar would sign the so-called confession under the allegedly false name Omar. Thus,

                                   8   this signature is consistent with Plaintiff’s testimony and further supports a finding that the

                                   9   statement was unknowing and involuntary. The government’s written opposition does not address

                                  10   this anomaly, nor does it even discuss Choy, let alone distinguish Choy from the uncontested facts

                                  11   of this case.

                                  12           The Hearing Officer based his revocation decision exclusively on the January 23
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                                  13   statement.3 (Dkt. No. 14-35.) Since, as explained above, the uncontested facts show that the

                                  14   statement was unknowing and involuntary, Plaintiff’s due process rights were violated when it

                                  15   served as the predicate for his passport revocation. See Choy, 279 F.3d at 647. Accordingly,

                                  16   Plaintiff has demonstrated a likelihood of success, or at a minimum, serious legal issues regarding

                                  17   his claim that the revocation should be set aside under 5 U.S.C. § 706(2)(B) (authorizing the court

                                  18   to set aside agency actions that are contrary to a constitutional right).4

                                  19               2) The Standard of Proof

                                  20           Plaintiff also contends that his due process rights were violated because Defendants failed

                                  21   to apply the correct standard of proof to his passport revocation. “The function of a standard of

                                  22   proof, as that concept is embodied in the Due Process Clause and in the realm of factfinding, is to

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                                  24     See also Dkt. N. 14-36 (Hearing Transcript) at 47:4-12 (Hearing Officer Fellows: “Ms. Mody,
                                       does the Department have any other documentary evidence other than the signed statement to
                                  25   show that Mr. Omar is actually someone else or is the Department conceding that this, the man
                                       here, is Mr. Omar but it’s not his birth identity?” Ms. Mody: “So the basis for the Department’s
                                  26   revocation was based solely on the sworn statement that it was provided.”)
                                       4
                                  27     Plaintiff has also offered uncontested evidence that the statement was not true. See, e.g., Dkt No.
                                       14-33 (sworn affidavits from four individuals who attest that they knew the Plaintiff (identified via
                                  28   photograph) by the name Mosed Shaye Omar, and no other, prior to his entry to the United
                                       States).
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                                   1   instruct the factfinder concerning the degree of confidence our society thinks he should have in the

                                   2   correctness of factual conclusions for a particular type of adjudication.” Addington v. Texas, 441

                                   3   U.S. 418, 423 (1979) (internal citation and quotation marks omitted). “At one end of the spectrum

                                   4   is the typical civil case involving a monetary dispute between private parties” wherein the

                                   5   “plaintiff’s burden of proof is a mere preponderance of the evidence [and] [t]he litigants [] share

                                   6   the risk of error in roughly equal fashion.” Id. At the other end of the spectrum, in a criminal

                                   7   case, the beyond a reasonable doubt standard applies because “the interests of the defendant are of

                                   8   such magnitude that historically and without any explicit constitutional requirement they have

                                   9   been protected by standards of proof designed to exclude as nearly as possible the likelihood of an

                                  10   erroneous judgment.” Id. An intermediate “clear” and “convincing” standard applies where the

                                  11   interests at stake “are deemed to be more substantial than mere loss of money” or where

                                  12   “particularly important individual interests” are at stake. Id. at 424. Plaintiff here urges that the
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                                  13   proper standard of proof for a passport revocation is clear and convincing evidence whereas

                                  14   Defendants contend that the standard is a preponderance of evidence.

                                  15          Clear and convincing evidence requires evidence that could “place in the ultimate

                                  16   factfinder an abiding conviction that the truth of its factual contentions are highly probable.”

                                  17   Colorado v. New Mexico, 467 U.S. 310, 316 (1984) (internal citation and quotation marks

                                  18   omitted); see also United States v. Yi, 704 F.3d 800, 806 (9th Cir. 2013) (“Clear and convincing

                                  19   evidence creates a conviction that the factual contention is highly probable.”). In contrast,

                                  20   evidence satisfies the preponderance of the evidence standard if it is “reliable and thoroughly

                                  21   tested.” United States v. Mezas de Jesus, 217 F.3d 638, 644 (9th Cir. 2000) (internal citation and

                                  22   quotation marks omitted).

                                  23          While the preponderance of evidence standard generally applies in ordinary civil cases, the

                                  24   Supreme Court has applied the clear and convincing evidence standard when certain fundamental

                                  25   rights are at stake. See, e.g., Cruzan by Cruzan v. Dir., Missouri Dep’t of Health, 497 U.S. 261,

                                  26   286 (1990) (cessation of life support); Santosky v. Kramer, 455 U.S. 745, 760-70 (1982)

                                  27   (termination of parental right); Addington, 441 U.S. at 433 (civil commitment); Woodby v.

                                  28   Immigration & Naturalization Serv., 385 U.S. 276, 286 (1966) (deportation); Chaunt v. United
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                                   1   States, 364 U.S. 350, 353 (1960) (denaturalization). Plaintiff, relying on the Supreme Court’s

                                   2   decision in Kent v. Dulles, 357 U.S. 116 (1958), contends that an individual’s right to travel

                                   3   internationally is likewise a fundamental right. In Kent, the Supreme Court held that Congress had

                                   4   not authorized the Secretary of State to inquire of passport applicants as to any affiliation with the

                                   5   Communist Party finding that “[t]he right to travel is a part of the ‘liberty’ of which the citizen

                                   6   cannot be deprived without the due process of law under the Fifth Amendment.” Id. at 125. In so

                                   7   holding, the Court observed that “[t]ravel abroad, like travel within the country, may be necessary

                                   8   for a livelihood. It may be as close to the heart of the individual as the choice of what he eats, or

                                   9   wears, or reads. Freedom of movement is basic in our scheme of values.” Id.

                                  10           Defendants counter that the “right to travel” was limited by the Supreme Court’s

                                  11   subsequent decision in Haig v. Agee, 453 U.S. 280, 306 (1981), which addressed the State

                                  12   Department’s authority to revoke a rogue CIA agent’s passport. There, the Court found that
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                                  13   “[r]evocation of a passport undeniably curtails travel, but the freedom to travel abroad with a

                                  14   ‘letter of introduction’ in the form of a passport issued by the sovereign is subordinate to national

                                  15   security and foreign policy considerations; as such, it is subject to reasonable governmental

                                  16   regulation.” Id. at 306. “The Court has made it plain that the freedom to travel outside the United

                                  17   States must be distinguished from the right to travel within the United States.” Id. Indeed, while

                                  18   “[t]he constitutional right of interstate travel is virtually unqualified,” “the ‘right’ of international

                                  19   travel has been considered to be no more than an aspect of the ‘liberty’ protected by the Due

                                  20   Process Clause of the Fifth Amendment.” Califano v. Aznavorian, 439 U.S. 170, 176 (1978).

                                  21   “Thus, legislation which is said to infringe the freedom to travel abroad is not to be judged by the

                                  22   same standard applied to laws that penalize the right of interstate travel, such as durational

                                  23   residency requirements imposed by the States.” Id. at 176-77.

                                  24           However, neither Agee nor Aznavorian can be said to have substantively diminished the

                                  25   fundamental nature of the right to travel. The Agee Court explicitly noted that it had considered a

                                  26   different question in Kent; namely, whether the Secretary of State could deny a passport based on

                                  27   someone’s political beliefs and not “whether the Executive had the power to revoke the passport

                                  28   of an individual whose conduct is damaging the national security and foreign policy of the United
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                                   1   States.” Agee, 453 U.S. at 304; see also Regan v. Wald, 468 U.S. 222, 241 (1984) (distinguishing

                                   2   Kent from cases addressing national security issues noting that the “the Fifth Amendment right to

                                   3   travel, standing alone, [was] insufficient to overcome the foreign policy justifications supporting

                                   4   [a] restriction” on all travel to Cuba). The government undoubtedly has greater leeway in enacting

                                   5   regulations aimed at national security. Indeed, the salient inquiry in Agee was the level of judicial

                                   6   scrutiny, not, as here, the level of proof required. Moreover, recent cases emphasize that the right

                                   7   to travel—including the right to international travel—remains a firmly entrenched right of an

                                   8   American citizen. See Vartelas v. Holder, 132 S. Ct. 1479, 1488 (2012) (“Loss of the ability to

                                   9   travel abroad is itself a harsh penalty, made all the more devastating if it means enduring

                                  10   separation from close family members living abroad.”); Eunique v. Powell, 302 F.3d 971, 973 (9th

                                  11   Cir. 2002) (“It is undoubtedly true that there is a constitutional right to international travel.”).

                                  12           The question then is what standard of proof is required when that right is implicated.
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                                  13   While neither party points to a case defining the standard of proof applicable to a passport

                                  14   revocation or even a travel restriction generally, Plaintiff compellingly posits that the

                                  15   government’s interest in preventing the issuance of false passports is at least as great as the

                                  16   government’s interest in preventing undocumented individuals who have no legal status in the

                                  17   United States from remaining here and the Supreme Court has held that clear and convincing

                                  18   burden applies to those proceedings. See Woodby, 385 U.S. at 285. (“[t]his Court has not closed

                                  19   its eyes to the drastic deprivations that may follow when a resident of this country is compelled by

                                  20   our Government to forsake all the bonds formed here and go to a foreign land where he often has

                                  21   no contemporary identification.”). This is particularly true where, as here, the practical effect of

                                  22   the revocation of Plaintiff’s passport was to prevent him from returning home to the United States

                                  23   for 13 months. The revocation of Plaintiff’s passport while he was in Yemen left him stranded

                                  24   there and “thus visits a great hardship on the individual and deprives him of the right to stay and

                                  25   live and work in this land of freedom.” Flores-Chavez v. Ashcroft, 362 F.3d 1150, 1161 (9th Cir.

                                  26   2004) (setting aside an in absentia deportation order where the INS failed to provide proper notice

                                  27   of the deportation hearing). Thus, just as the Fifth Amendment requires the government to prove

                                  28   an undocumented individual’s unlawful status by clear and convincing evidence, it arguably
                                                                                          11
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                                   1   should protect citizens from denial of the right to international travel (including international

                                   2   travel home to the United States) by requiring a showing of clear and convincing evidence. See

                                   3   Mathews v. Diaz, 426 U.S. 67, 77 (1976) (“Even one whose presence in this country is unlawful,

                                   4   involuntary, or transitory is entitled to [] constitutional protection” under the Fifth Amendment).

                                   5            It is, however, unnecessary to finally decide this legal issue at this stage as Plaintiff has

                                   6   demonstrated a likelihood of success under either standard of proof because Defendants failed to

                                   7   apply any particular level of proof to the revocation hearing. Even if Defendants had applied the

                                   8   preponderance of evidence standard, the evidence relied upon lacked sufficient indicia of

                                   9   reliability—a hallmark of the preponderance of the evidence standard.

                                  10            First, the hearing transcript reflects that the Hearing Officer did not apply any standard of

                                  11   proof.

                                  12                   [GOVERNMENT COUNSEL] MS. MODY: It’s my understanding
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                                                       that there is no stated burden of proof, and that because this is an
                                  13                   informal hearing, there are not very many rules governing the
                                                       hearing itself, particularly because the hearing officer makes a
                                  14                   recommendation to the Deputy Assistance Secretary to make a final
                                                       determination.
                                  15
                                                       COMMISSIONER FELLOWS:                 As Ms. Mody said, as an
                                  16                   administrative hearing and as I sort of laid out at the start, it’s very
                                                       informal. So the same burdens that you might face in a courtroom
                                  17                   don’t necessarily apply in this hearing.
                                  18                   And as Ms. Mody said, after the hearing, I will make a
                                                       recommendation to the Deputy Assistant Secretary for Passport
                                  19                   Services, and she will consider all the relevant submissions, as well
                                                       as my opinion.
                                  20
                                       (Dkt. No. 14-36 at 43:5-21.) Nor does it appear that Defendant Sprague, Deputy Assistant
                                  21
                                       Secretary for Passport Services, applied a particular standard of proof to her review as she merely
                                  22
                                       signed her name in the approved line on the Hearing Officer’s recommendation. Plaintiff has thus
                                  23
                                       demonstrated a likelihood of success on the merits of his claim that no particular evidentiary
                                  24
                                       standard was applied, let alone a clear and convincing standard.
                                  25
                                                 Second, Defendants’ decision cannot withstand scrutiny even under the more lenient
                                  26
                                       preponderance of the evidence standard; under that standard the factfinder is required to find that
                                  27
                                       the evidence is “reliable and thoroughly tested.” Mezas de Jesus, 217 F.3d at 644. Here,
                                  28
                                                                                           12
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                                   1   Defendants’ decision rested entirely on the January 23 statement—“the basis for the Department’s

                                   2   revocation was based solely on the sworn statement,” see Dkt. No. 14-36 at 47:11-12—and that

                                   3   statement, as discussed above, lacks indicia of reliability given the circumstances under which it

                                   4   was made. Defendants make no argument to the contrary, and instead, just assert in conclusory

                                   5   fashion that the preponderance of evidence standard was applied and satisfied here.

                                   6          In resting his decision solely on the sworn statement, the Hearing Officer faulted Plaintiff

                                   7   for failing to provide evidence from individuals within Yemen who could vouch for his identity

                                   8   prior to his immigration to the United States—over 40 years ago. (Dkt. No. 14-35 at 6 “petitioner

                                   9   was provided with an opportunity to submit additional documentary evidence of identity after the

                                  10   conclusion of his hearing and was unable to produce a single document from the 20 years he lived

                                  11   in Yemen prior to applying for an immigrant visa. The one document provided was created

                                  12   immediately before Mr. Alghazali came to the United States.”) 5 However, even the government
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                                  13   agrees that it bore the burden to sustain the revocation by a preponderance of the evidence—

                                  14   Plaintiff did not bear any burden. Further, as government counsel noted at the administrative

                                  15   hearing, obtaining additional evidence from inside Yemen was very difficult because “the

                                  16

                                  17   5
                                         This is particularly troubling given the unreasonable timeframe Plaintiff was given to obtain this
                                  18   information. At the hearing, the Hearing Officer asked Plaintiff’s counsel to provide additional
                                       documentary evidence supporting Plaintiff’s contention that he used the name Mosed Shaye Omar
                                  19   in Yemen prior to coming to the United States. (Dkt. No. 14-36 at 49:12-16.) Counsel agreed to
                                       do so and asked for a timeframe. The Hearing Officer vaguely responded “I will refer it as soon as
                                  20   possible. And I will relay that date through Division Chief McLean to you and she’ll reach out to
                                       you with that information.” (Id. at 53:8-11.) Then, in an email sent that same day, the Hearing
                                  21   Officer advised Ms. McClean that he requested that this additional documentary evidence be
                                       submitted by October 10—18 days later. (Dkt. No. 14-30 at 2.) The due date was not
                                  22   communicated to Plaintiff’s counsel until two days later as Ms. McClean was out of the office.
                                       (Id.) Because of the delay, Plaintiff’s counsel was given one extra business day, until October 14,
                                  23   to submit the additional documentation—October 11 and 12 were a weekend, and October 13 was
                                       Columbus Day, a legal holiday. (Id.) Plaintiff thus had less than 23 days to obtain documents
                                  24   from Yemen, have them translated, and provide them to the hearing officer before he rendered his
                                       decision. Despite this abbreviated timeframe, Plaintiff’s counsel obtained a copy of Mr. Omar’s
                                  25   vaccination record from Yemen from 1972 and the sworn statements of four individuals from
                                       Yemen who attested that “they know the person whose photo appears above and that his name is
                                  26   Mosed Shaye Omar, and that they know him by this name prior to this entry to the United States
                                       of America, and that they do not know of any other name for him.” (Dkt. Nos. 14-32, 14-33.) The
                                  27   Hearing Officer nonetheless faulted Plaintiff for not obtaining additional documentary evidence of
                                       identity and in doing so wholly failed to discuss the sworn statements of the four individuals, and
                                  28   discounted the immunization record as “created immediately before [he] came to the United
                                       States.” (Dkt. No. 14-35 at 6.)
                                                                                         13
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                                   1   situation in Yemen is very dire right now, and it is very difficult to get any documentation.” (Dkt.

                                   2   No. 14-36 at 47:13-15.) The Hearing Officer thus improperly shifted the burden of proof and

                                   3   faulted Plaintiff for not obtaining documents that the government itself acknowledged were nearly

                                   4   impossible to obtain.

                                   5          Plaintiff has thus demonstrated a likelihood of success, or least serious issues, on his claim

                                   6   that Defendants violated his due process rights by revoking his passport without applying the

                                   7   correct evidentiary standard of proof.

                                   8          3) The Revocation as a Collateral Attack on Citizenship

                                   9          Plaintiff also contends that the revocation must be set aside because Defendants’ action

                                  10   exceeded their statutory authority under 8 U.S.C. § 1504(a). In particular, because Plaintiff used

                                  11   his judicial Certificate of Naturalization as the basis for establishing his identity and citizenship

                                  12   when obtaining his passport, the government’s determination that Plaintiff’s passport was
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                                  13   fraudulent necessarily calls into question the validity of the court’s prior order on Plaintiff’s

                                  14   judgment of citizenship. Plaintiff argues that such a collateral attack on his citizenship is

                                  15   prohibited. Defendants counter that the question of identity and citizenship are separate inquiries.

                                  16           8 U.S.C. § 1504(a) authorizes the Secretary of State to cancel a passport “if it appears that

                                  17   such document was illegally, fraudulently, or erroneously obtained from, or was created through

                                  18   illegality or fraud practiced upon, the Secretary.” Defendants contend that Plaintiff’s passport was

                                  19   obtained fraudulently as it was obtained in a false name because Plaintiff’s name is actually Yasin

                                  20   Mohamed Ali Alghazali not Mosed Shaye Omar. Defendants do not appear to dispute that

                                  21   Plaintiff’s Certificate of Naturalization, which identifies him as Mosed Shaye Omar, and includes

                                  22   his photograph, was the document Plaintiff used to establish his identity and citizenship for

                                  23   purposes of obtaining his passport. (Dkt. No. 14-8.) The revocation of Plaintiff’s passport based

                                  24   on his use of a false identity—when that identity was established by his Certificate of

                                  25   Naturalization—thus calls into question his identity for all purposes including naturalization.

                                  26          It is not clear, however, that this type of collateral attack is precluded as a matter of law.

                                  27   The cases upon which Plaintiff relies arose in different contexts. See, e.g., Spratt v. Spratt, 29

                                  28   U.S. 393, 408 (1830) (addressing the effect of a naturalization order in the context of a property
                                                                                          14
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                                   1   dispute); Johannessen v. United States, 225 U.S. 227, 242 (1912) (upholding legislation which

                                   2   provided for judicial review of an order of naturalization that was alleged to have been obtained

                                   3   through fraud or other illegal contrivance); Mut. Ben. Life Ins. Co. v. Tisdale, 91 U.S. 238, 246

                                   4   (1875) (determining that letters of administration were not admissible as proof of death and citing

                                   5   to the legal effect of a naturalization decision by way of analogy). Magnuson v. Baker, 911 F.2d

                                   6   330 (9th Cir. 1990), is the most on point. There, the Ninth Circuit observed that the Secretary of

                                   7   State can only question the authenticity of a certificate of naturalization and not its veracity, but

                                   8   that statement appears as dicta in a footnote. Id. at 333 n.6 (“Because a certificate is conclusive

                                   9   evidence of citizenship, if a holder of a certificate from a naturalization court presented the

                                  10   certificate to the Secretary in order to obtain a passport, the Secretary could not relitigate the

                                  11   citizenship issue. The Secretary could question only the certificate’s authenticity, i.e., whether the

                                  12   certificate is a forgery.”).
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                                  13           Thus, while the Secretary lacks the authority under Section 1504(a) to make a

                                  14   determination regarding citizenship, it is not clear that this precludes the Secretary from making

                                  15   any determination which might implicate citizenship. The Secretary’s position, however, places

                                  16   Plaintiff in an untenable situation. The Secretary claims that once presented with the “confession”

                                  17   it had no choice but to revoke the passport; it could not release the passport when it believed it was

                                  18   obtained with a false name. At the same time, however, for the more than two and half years since

                                  19   his passport was revoked, the United States has not filed any action, administrative or otherwise,

                                  20   to challenge Plaintiff’s citizenship. Instead, it has made it repeatedly clear that it is not

                                  21   challenging his citizenship and, indeed, if Plaintiff filed an action to reaffirm his citizenship, the

                                  22   government candidly surmised that it might argue that such lawsuit does not present an actual case

                                  23   or controversy because the government does not contest Plaintiff’s citizenship. (Dkt. No. 32 at 21-

                                  24   25.) In other words, the government apparently believes it is proper to revoke a United States

                                  25   citizen’s passport on the grounds that he is not the person that the United States agreed he was

                                  26   when he obtained his citizenship, but then take no steps to actually challenge the citizenship and to

                                  27   instead leave the citizen in a state of legal purgatory. Such tactics at the very least raise serious

                                  28   questions.
                                                                                          15
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                                   1          B.      Likelihood of Irreparable Harm

                                   2          Having concluded that Plaintiff has established a likelihood of success on his claim that his

                                   3   passport was improperly revoked based solely on an unknowing and involuntary statement, and

                                   4   Plaintiff having otherwise raised serious legal issues, the Court next turns to the question of

                                   5   irreparable harm. As a threshold matter, Plaintiff contends that the deprivation of his

                                   6   constitutional right to travel necessarily constitutes an irreparable injury. Plaintiff also argues that

                                   7   because he cannot travel internationally, he cannot visit his 16-year-old daughter who is in Yemen,

                                   8   and she conversely cannot leave to come live with Plaintiff in the United States without a

                                   9   Consular Report of Birth Abroad and a U.S. passport. (Dkt. No. 14-38 (Omar Decl.) at ¶ 4, Dkt.

                                  10   No. 30-2 (Supplemental Omar Decl.) at ¶ 2.) Defendants counter that there is no irreparable harm

                                  11   because the Court can rule on the APA claims efficiently through cross-motions for summary

                                  12   judgment once the administrative record is filed, and Plaintiff can apply for a U.S. passport for his
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                                  13   daughter even without having one himself, citing to various regulations.

                                  14          “It is well established that the deprivation of constitutional rights unquestionably

                                  15   constitutes irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (internal

                                  16   citation and questions marks omitted). Here, while the parties dispute the fundamental nature of

                                  17   the right involved, as noted supra, there is a constitutional right to international travel. See

                                  18   Eunique v. Powell, 302 F.3d 971, 973 (9th Cir. 2002). In the context of other constitutional rights

                                  19   such as the right to speech and freedom of religion, courts generally conclude that abridgment of

                                  20   these rights constitutes an irreparable injury. See, e.g., Farris v. Seabrook, 677 F.3d 858, 868 (9th

                                  21   Cir. 2012) (affirming the district court’s conclusion that “[t]he loss of First Amendment freedoms,

                                  22   for even minimal periods of time, unquestionably constitutes irreparable injury” and that “harm is

                                  23   particularly irreparable where, as here, a plaintiff seeks to engage in political speech, as timing is

                                  24   of the essence in politics and [a] delay of even a day or two may be intolerable.”); Chaplaincy of

                                  25   Full Gospel Churches v. England, 454 F.3d 290, 303 (D.C. Cir. 2006) (“where a movant alleges a

                                  26   violation of the Establishment Clause, this is sufficient, without more, to satisfy the irreparable

                                  27   harm prong for purposes of the preliminary injunction determination.”); Fed. Prac. & Proc. Civ. §

                                  28   2948.1 (The Rutter Guide 2015) (“When an alleged deprivation of a constitutional right is
                                                                                          16
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                                   1   involved, such as the right to free speech or freedom of religion, most courts hold that no further

                                   2   showing of irreparable injury is necessary.”). Likewise, separation from family members can

                                   3   constitute an irreparable injury. Andreiu v. Ashcroft, 253 F.3d 477, 484 (9th Cir. 2001) (en banc)

                                   4   (“[o]ther important [irreparable harm] factors include separation from family members, medical

                                   5   needs, and potential economic hardship.”)

                                   6          Thus, there is considerable precedent for the conclusion that abridgment of Plaintiff’s

                                   7   constitutional right to travel and separation from his daughter poses an irreparable injury. Further,

                                   8   while the Embassy in Yemen is closed with no sign of reopening soon and U.S. Citizens are urged

                                   9   to defer travel to Yemen given that it is in a state of civil war, see Dkt. No. 30-2 at ¶¶ 3-4; id. at 5

                                  10   (U.S. Department of State, Yemen Crisis travel bulletin dated August 21, 2015), at oral argument,

                                  11   the government agreed that there is no legal impediment to Plaintiff travelling to Yemen. (Dkt.

                                  12   No. 32 at 35:19-21.) Indeed, the dangerous situation in Yemen merely highlights the irreparable
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                                  13   harm to Plaintiff in not being allowed to be with, or at least attempt to be with, his daughter.

                                  14   Plaintiff thus has demonstrated a likely risk of irreparable harm. See Alliance for the Wild Rockies

                                  15   v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011) (“plaintiffs must establish that irreparable harm is

                                  16   likely, not just possible, in order to obtain a preliminary injunction.”)

                                  17          C.      Balance of Hardships and Public Interest

                                  18          The remaining factors—the balance of hardships and the public interest—weigh in

                                  19   Plaintiff’s favor. “When the government is a party, these last two factors merge.” Drakes Bay

                                  20   Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.) cert. denied, 134 S. Ct. 2877 (2014).

                                  21   Defendants’ only asserted interest here is in protecting the public from having a United States

                                  22   citizen travel under his legal name because the government believes that 30 years ago he applied

                                  23   for citizenship under a false name. And the government has not sought to denaturalize the citizen

                                  24   despite having more than two years to do so. The government’s claim of hardship is further

                                  25   undercut by its Foreign Affairs Manual:

                                  26                  (d) Questionable Certificates of Naturalization and Citizenship.
                                  27                  (1) (SBU) By law, 8 U.S.C. 1443(e), Certificates of Naturalization
                                                      or Citizenship are proof of United States citizenship. Accordingly,
                                  28                  an individual remains eligible for a U.S. passport until his/her

                                                                                          17
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                                                      Certificate of Naturalization or Certificate of Citizenship is revoked
                                   1                  by U.S. Citizenship and Immigration Services (USCIS) or a U.S.
                                                      District court, or unless he/she is ineligible for passport services for
                                   2                  reasons other than non-citizenship.
                                   3
                                       7 FAM § 1381.2(d) 6 (Dkt. No. 14-20 at 2). Thus, the government’s own guidelines provide that
                                   4
                                       the proper course under circumstances similar to those present here is to move to revoke the
                                   5
                                       applicant’s Certificate of Naturalization, not to withhold the applicant’s passport as was done here.
                                   6
                                       The government has failed to show any hardship whatsoever.
                                   7
                                               In contrast to the government’s lack of hardship, Plaintiff has established that the denial of
                                   8
                                       his passport infringes on his constitutional right to travel and separates him from his daughter.
                                   9
                                       This factor therefore weighs in his favor. The public interest likewise favors return of Plaintiff’s
                                  10
                                       passport given that “it is always in the public interest to prevent the violation of a party’s
                                  11
                                       constitutional rights.” Melendres, 695 F.3d at 1002.
                                  12
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                                                                                  CONCLUSION
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                                  13
                                              The government revoked Plaintiff’s passport based solely on a written statement that
                                  14
                                       Plaintiff signed without reading or understanding, and only after he had been deprived of food,
                                  15
                                       water, and medication for hours and was desperate for return of his passport so he could travel to
                                  16
                                       the United States to obtain medical care. Plaintiff has therefore established a likelihood of success
                                  17
                                       on his claim that the revocation violated his right to due process and was therefore arbitrary and
                                  18
                                       capricious. See Choy, 279 F.2d at 647. He has also raised at least serious questions as to whether
                                  19
                                       Defendants applied the appropriate standard of review to his passport revocation and whether the
                                  20
                                       revocation is an improper and incomplete collateral challenge to his citizenship. As the balance of
                                  21
                                       hardships and the public interest tip sharply in Plaintiff’s favor, his motion for a preliminary
                                  22
                                       injunction is GRANTED. Defendants shall return Plaintiff’s passport to him within 10 days of
                                  23
                                       this Order.
                                  24
                                              The government has filed the certified administrative record and the previously established
                                  25

                                  26   6
                                        In its Answer, the government admitted that the above quoted provision was in effect between
                                  27   January 2013 and December 2013. (Dkt. No. 19 ¶ 31.) The government contends that Plaintiff
                                       has selectively quoted from the Manual in a way that distorts its meaning, but does not submit any
                                  28   other Manual provisions or explain how the above quoted provision means anything other than
                                       what it says.
                                                                                      18
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                                   1   briefing schedule remains in effect with minor adjustments to allow adequate time for briefing on

                                   2   Defendants’ cross-motion for summary judgment as follows:

                                   3          Plaintiff’s motion for summary judgment is due October 30, 2015.

                                   4          Defendants’ opposition and cross-motion is due November 13, 2015.

                                   5          Plaintiff’s reply and opposition to the cross-motion is due November 23, 2015.

                                   6          Defendants’ reply on their cross-motion is due November 30, 2015.

                                   7          The hearing will be December 10, 2015 at 9:00 a.m.

                                   8          IT IS SO ORDERED.

                                   9   Dated: October 13, 2015

                                  10

                                  11                                                               ________________________
                                                                                                   JACQUELINE SCOTT CORLEY
                                  12                                                               United States Magistrate Judge
Northern District of California
 United States District Court




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